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UN|TED STATES OF AMERICA

TI'KJMASM iGU.D
"" 2;02cR20455-01-M1 GLE§§,»D§j§ §§WTM

CODY ODUM
Michael Schol| CJA
Defense Attorney
8 South Third Street, 4*" Floor
Memphis, TN 38103

 

 

*A-M-E-N-D-E-D* JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 2 and 3 of the Indictment on March 4, 2004
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Of'fense Count
Tit|a & Section Nature of Offense Conc|uded Number(sj
18 U.S.C. §922(9) Fe|on in Possession of a Firearm 07)'18/2002 1
21 U.S.C. § 841 (a)(1) Possession with lntent to Distribute Cooaine 07/18!2002 2
Base
18 U.S.C. § 924(0) Carrnyse of Firearm During and in Re|ation to 07/18/2002 3

a Drug Trachking Crime

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid

 

Defendant’s Soc. Sec. No. XXX-XX-XXXX Ori inal Date of im osition of Sentence:
Defendant's Date of Birth: 08/01/1972 December 3, 2004
Deft’s U.S. Marshal No.: 18684-076 Amended: Jul 13 2005

 

Defendant’s lVlai|ing Address:
3719 Faulkner Road
Memphis, TN 38118 w inc
ON PH|PPS McCAl_l.A
UN ED ATES DISTR|CT JUDGE

This document entered on the docket sheet in gomp|lanoe Ju|y_L' 2005 Q’
with mile 55 and/or sz(b) Fnch on '7 l '0> §

 

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Case No: 2:020r20455-01-M| Defendant Name: Cody ODUM Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Months (or 10 Years) as to Count 1; *120

Months (or 10 Years) as to Count 2*; and 60 Months (or 5 Years) as to Count 3. Counts

1 and 2 are to be served concurrently with each other; Count 3 is to be served

consecutively to Counts 1 and 2 for a *tota| term of incarceration of 180 Months (or
15 Years).*

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES |V|ARSi-|AL
By:

 

Deputy U.S. Marsha|

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Case No: 2:020r20455-01-M| Defendant Name: Cody ODUM Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 Years as to Count 1; 4 ¥ears as to Count 2; and 4 ¥ears as to Count 3; Al|
Counts are to be supervised concurrently with each other for a total term of
supervision of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation ofhcer;

2. The defendant shall report to the probation officer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the Hrst Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ofhcer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft"lcer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and

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Case No: 2:020r20455-01-M| Defendant Name: Cody ODUM Page 4 of 4
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation ofncer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Oftice.
2. The defendant shall seek and maintain full-time employment

B_. The defendant shall cooperate with DNA collection as directed by the Probation Office.*
CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$300.00

The Specia| Assessment shall be due immediately.

F|NE
No fine imposed.

REST|TUTION
No Restitution was ordered.

UNlTED SESTATDTISRIC COURT - WEERST DISTRCIT TNNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:02-CR-20455 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

 

Michael EdWin Scholl

THE SCHOLL LAW FIRM
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Fourth Floor

Memphis7 TN 38103--238

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

